Case 18-14350-elf         Doc 84   Filed 10/09/20 Entered 10/09/20 16:01:21              Desc Main
                                   Document      Page 1 of 4




                          UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                PHILADELPHIA DIVISION

 In re:
                                                           Bankruptcy No. 18-14350-elf
 Jorge R Rosario,
           Debtor ,                                        Chapter 13

 Ipatia C Bueno,
                                                           Hearing Date: November 3, 2020
          Joint Debtor,                                    Hearing Time: 9:30 a.m.
 Selene Finance LP, as Attorney in Fact for Wilmington     Location: 900 Market Street,
 Savings Fund Society, FSB, d/b/a Christiana Trust, not    Philadelphia, PA 19107
 individually but as trustee for Pretium Mortgage
 Acquisition Trust,

          Movant,
 v.
 Jorge R Rosario,
 Ipatia C Bueno,
           Debtor/Respondent,
 William C. Miller, Esquire,
          Trustee/Respondent,



 MOTION OF SELENE FINANCE LP, AS ATTORNEY IN FACT FOR WILMINGTON
 SAVINGS FUND SOCIETY, FSB, D/B/A CHRISTIANA TRUST, NOT INDIVIDUALLY
    BUT AS TRUSTEE FOR PRETIUM MORTGAGE ACQUISITION TRUST FOR
  RELIEF FROM THE AUTOMATIC STAY TO PERMIT SELENE FINANCE LP, AS
  ATTORNEY IN FACT FOR WILMINGTON SAVINGS FUND SOCIETY, FSB, D/B/A
   CHRISTIANA TRUST, NOT INDIVIDUALLY BUT AS TRUSTEE FOR PRETIUM
  MORTGAGE ACQUISITION TRUST TO FORECLOSE ON 1356 SUNSET STREET,
                     TRAINER, PENNSYLVANIA 19061


          Secured Creditor, Selene Finance LP, as Attorney in Fact for Wilmington Savings Fund

Society, FSB, d/b/a Christiana Trust, not individually but as trustee for Pretium Mortgage

Acquisition Trust, by and through the undersigned counsel, hereby moves this Court, pursuant to

11 U.S.C. § 362(d), for a modification of the automatic stay provisions for cause, and, in support


                                                                                           18-14350-elf
                                                                        ROSARIO, JORGE; BUENO, IPATIA
                                                                                                  MFR
Case 18-14350-elf       Doc 84    Filed 10/09/20 Entered 10/09/20 16:01:21               Desc Main
                                  Document      Page 2 of 4




thereof, states the following:

   1. Debtor(s), Jorge R Rosario and Ipatia C Bueno, filed a voluntary petition pursuant to

       Chapter 13 of the United States Bankruptcy Code on June 29, 2018.

   2. Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C. §

       1334, 11 U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules and

       statutes affecting the jurisdiction of the Bankruptcy Courts generally.

   3. On April 3, 2006, Jorge R Rosario and Ipatia C Bueno executed and delivered a

       Promissory Note (“Note”) and Mortgage (“Mortgage”) securing payment of the Note in

       the amount of $108,000.00 to Sunset Mortgage Company, L.P., A Limited Partnership.

       A true and correct copy of the Note is attached hereto as Exhibit “A.”

   4. The Mortgage was recorded on April 18, 2006 in Book 3776 at Page 1689/2006035449

       of the Public Records of Delaware County, Pennsylvania. A true and correct copy of the

       Mortgage is attached hereto as Exhibit “B.”

   5. The Mortgage was secured as a lien against the Property located at 1356 Sunset Street,

       Trainer, Pennsylvania 19061, (“the Property”).

   6. The loan was lastly assigned to Selene Finance LP, as Attorney in Fact for Wilmington

       Savings Fund Society, FSB, d/b/a Christiana Trust, not individually but as trustee for

       Pretium Mortgage Acquisition Trust and same was recorded with the Delaware County

       Recorder of Deeds on November 21, 2018, as Instrument Number 2018056353. A true

       and correct copy of the Assignment of Mortgage is attached hereto as Exhibit “C.”

   7. Based upon the Debtor(s)’ Chapter 13 Amended Plan (Docket No. 42), Debtor is

       responsible for maintaing the ongoing payment obligation directly to Secured Creditor.




                                                                                           18-14350-elf
                                                                        ROSARIO, JORGE; BUENO, IPATIA
                                                                                                  MFR
Case 18-14350-elf     Doc 84    Filed 10/09/20 Entered 10/09/20 16:01:21              Desc Main
                                Document      Page 3 of 4




      A true and correct copy of the Chapter 13 Amended Plan is attached hereto as Exhibit

      “D.”

   8. Debtor has failed to make the monthly payments of principal, interest, and escrow in the

      amount of $1,308.05 which came due on April 1, 2020, May 1, 2020, June 1, 2020, July

      1, 2020, August 1, 2020, September 1, 2020, and October 1, 2020, respectively.

   9. Thus, less a suspense balance of $329.45, the Debtor(s)’ post-petition arrearage totaled

      the sum of $8,826.90 through October 31, 2020. See Exhibit “E.”

   10. As of October 5, 2020, The current unpaid principal balance due under the loan

      documents is approximately $90,413.09. Movant’s total claim amount, itemized below,

      is approximately $140,515.42. See Exhibit “F.”

                 Principal Balance                               $90,413.09
                 Delinquent Interest                             $21,174.63
                  Escrow Advance                                 $21,977.32
             Corporate Advance Balance                           $10,775.76
                     Late Fees                                     $809.37
                   Recording Fee                                   $83.25
                     Total Debt                                  $140,515.42


   11. According to the Debtor(s)’ Schedule A/B, the value of the property is $105,000.00. See

      Exhibit “G.”

   12. Under Section 362(d)(1) of the Code, the Court shall grant relief from the automatic stay

      for “cause” which includes a lack of adequate protection of an interest in property.

      Sufficient “cause” for relief from the stay under Section 362(d)(1) is established where a

      debtor has failed to make installment payments or payments due under a court-approved

      plan, on a secured debt, or where the Debtor(s) have no assets or equity in the Mortgaged

      Property.

   13. As set forth herein, Debtor has defaulted on his secured obligation as he has failed to

                                                                                        18-14350-elf
                                                                     ROSARIO, JORGE; BUENO, IPATIA
                                                                                               MFR
Case 18-14350-elf       Doc 84    Filed 10/09/20 Entered 10/09/20 16:01:21                Desc Main
                                  Document      Page 4 of 4




       make his monthly post-petition installment payments.

   14. As a result, cause exists pursuant to 11 U.S.C. § 362(d) of the Code for this Honorable

       Court to grant relief from the automatic stay to allow Secured Creditor, its successor

       and/or assignees to pursue its state court remedies, including the filing of a foreclosure

       action.

   15. Additionally, once the stay is terminated, the Debtor(s) will have minimal motivation to

       insure, preserve, or protect the collateral; therefore, Secured Creditor requests that the

       Court waive the 14-day stay period imposed by Fed.R.Bankr.P. 4001(a)(3).

       WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying

the automatic stay under 11 U.S.C. § 362(d) to permit Selene Finance LP, as Attorney in Fact for

Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust, not individually but as trustee

for Pretium Mortgage Acquisition Trust to take any and all steps necessary to exercise any and

all rights it may have in the collateral described herein, to gain possession of said collateral, to

seek recovery of its reasonable attorneys’ fees and costs incurred in this proceeding, to waive the

14-day stay imposed by Fed.R.Bankr.P. 4001(a)(3), and for any such further relief as this

Honorable Court deems just and appropriate.

Date: October 9, 2020

                                                     Robertson, Anschutz, Schneid & Crane
                                                     LLC
                                                     Attorney for Secured Creditor
                                                     10700 Abbott’s Bridge Rd., Suite 170
                                                     Duluth, GA 30097
                                                     Telephone: (470) 321-7112
                                                     By: /s/ Charles G. Wohlrab
                                                     Charles G. Wohlrab, Esquire
                                                     PA Bar Number 314532
                                                     Email: cwohlrab@rascrane.com



                                                                                            18-14350-elf
                                                                         ROSARIO, JORGE; BUENO, IPATIA
                                                                                                   MFR
